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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
United States of America,
Lo. fA
Plaintiff, 4 ‘. “Lb ov
vy. Criminal Case No. st
Dion Enc Savage, Honorable Sean F. Cox
Defendant. [ (L E
/ JUN 16 2008
OPINION & ORDER. CLERK'S OFFICE

DENYING DEFENDANT’S MOTION SEEKING DETROIT

LEAVE TO FILE A SUCCESSIVE § 2255 MOTION

On May 12, 2008, Defendant filed a pro se submission titled, “Pursuant [to] the Court’s
Order of February 6, 2006, the Defendant Seeks the Court’s Permission, in the Interest of Justice,
to File a Motion for an Evidentiary Hearing in Light of the ‘Newly Discovered Exculpatory &
Material Evidence.’” (Docket Entry No. 776). For the reasons set forth below, the Court shall
DENY Defendant’s request for leave to file that submission.

BACKGROUND

This action was originally assigned to the Honorable Paul V. Gadola. In October of 1997,
a jury convicted Defendant Dion Eric Savage (““Savage” or “Defendant”) of engaging ina
continuing criminal enterprise, conspiring to distribute cocaine, and possessing a weapon as a
convicted felon. He was sentenced to life in prison plus ten years.

The United States Court of Appeals for the Sixth Circuit affirmed his continuing criminal

enterprise and firearm convictions on direct appeal, but vacated the conspiracy conviction.
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United States v. Simpson, 1999 WL 777348 (6th Cir. Sept. 21, 1999). In 2001, Judge Gadola
vacated Savage’s firearm conviction in a 28 U.S.C. § 2255 proceeding filed by Savage. Savage
y. United States, 25 Fed. Appx. 280 (6th Cir. 2001).

As explamed by the Sixth Circuit, “[a]fter his early successes, Savage began barraging the
district court with dozens of frivolous motions challenging his remaining conviction.” (See
6/5/08 6th Circuit Order in Case No 07-1487). In an Order dated February 6, 2006, Judge
Gadola noted that, at that time, Savage had already filed at least 57 motions with the district
court. (Docket Entry No. 727). Judge Gadola denied the 22 motions that were pending on that
date, and further enjoined Savage from filing any further documents without first seeking leave
of court. (/d.). The Sixth Circuit later affirmed Judge Gadola’s February 6, 2006 Order
enjoining Savage from filing documents without leave of court. (See 2/5/07 6th Circuit Order in
Case Nos. 07-1604/1605/1914).

On February 23, 2007, Savage filed a “‘Motion for an Evidentiary Hearing to Prove My
Innocence,’ in Light of the Newly Discovered Exculpatory/Material Evidence, in the Interest of
Justice.” (Docket Entry No. 744). On March 26, 2007, Judge Gadola issued an Order striking
that motion. (Docket Entry No. 745). Savage then appealed that order to the Sixth Circuit.

In an Order dated June 5, 2008, the Sixth Circuit affirmed the order striking the motion,
noting that “[a] review of the district court docket sheet reveals that Savage did not seek leave to
file the instant motion. Thus, the district court’s order was reasonable and not arbitrary.”
(Docket Entry No. 777).

On May 12, 2008, Savage filed the instant submission titled, “Pursuant [to] the Court’s

Order of February 6, 2006, the Defendant Seeks the Court’s Permission, 1n the Interest of Justice,
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to File a Motion for an Evidentiary Hearing in Light of the ‘Newly Discovered Exculpatory &
Material Evidence.’” (Docket Entry No. 776).

On June §1, 2008, this action was reassigned to this Court.

ANALYSIS

The Court notes that although Savage has previously filed a motion pursuant to 28 U.S.C.
§ 2255, he is now seeking leave to file a successive § 2255 motion to address newly discovered
evidence that he believes establishes his innocence.

Section 2255 places restrictions on the ability of federal prisoners to file successive §
2255 applications. Effective April 26, 1996, a prisoner seeking to file a second or successive §
2255 petition must first file with the court of appeals a motion for an order authorizing the
district court to consider the second or successive motion. Specifically, § 2255(h) provides

A second or successive motion must be certified as provided in section 2244 by a
panel of the appropriate court of appeals to contain—

(1) newly discovered evidence that, if proven and viewed in light of the evidence
as a whole, would be sufficient to establish by clear and convincing evidence that

no reasonable factfinder would have found the movant guilty of the offense; or

(2) a new rule of constitutional law, made retro-active to case on collateral review
by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h); see also 28 U.S.C. § 2244, It does not appear that a panel of the Sixth

Circuit has certified the successive § 2255 motion that Savage seeks to file in this Court.

Accordingly, Savage’s motion seeking leave to file that motion must be denied.
CONCLUSION & ORDER

For the reasons above, IT IS ORDERED that Docket Entry No. 776 is DENIED.
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IT IS SOQ ORDERED.

Shy

 

 

SEAN F. COX

UNITED STATES DISTRICT COURT JUDGE
Dated: June ’&, 2008

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